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   Lisa Vang
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 8                             IN THE UNITED STATES DISTRICT COURT

 9                                EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                              CASE NO. 08-cr-00116 KJM
12                                 Plaintiff,               STIPULATION AND ORDER
                                                            MODIFYING CONDITIONS OF
13   v.                                                     PROBATION
14   LISA VANG,
                                   Defendant,
15

16          The Court placed Ms. Vang on probation for three years beginning December 18, 2014. She
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     is being supervised in the Central District of California. The following modifications to her
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     probationary conditions are requested:
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            Modification One – Travel to the Southern District of California and Eastern District of
20          Washington
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            Standard condition of supervision #1 provides that “the defendant shall not leave the judicial
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     district without permission of the court or probation officer.” Ms. Vang resides in the Central
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     District of California. However, her boyfriend/fiancé resides in the Southern District of California,
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     and her parents and other immediate family members reside in Spokane, Washington, which is in the
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26 Eastern District of Washington. Thus, it is requested that the court make the following modification

27 to Ms. Vang’s conditions of probation:

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                                                        1
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                    Ms. Vang shall be permitted to travel to the Southern District of California and the
 1                  Eastern District of Washington.
 2
            Modification Two – Striking of Drug Terms
 3
            Ms. Vang was drug tested during her period of pretrial release beginning in 2008. There is no
 4
     indication in the probation report that she has a substance abuse problem that requires monitoring or
 5

 6 treatment. It is requested that special conditions #s 6, 7, and 8, be stricken as there is no need for her

 7 to address substance abuse issues.

 8          Counsel for the government and the defendant hereby stipulate and agree that the court may
 9 order the above referenced modifications to the conditions of probation.

10

11 DATED:           January 12, 2015

12
                                           /s/ Matthew Morris___________________
13                                         Assistant United States Attorney

14 DATED:           January 12, 2015

15
                                           /s/ Timothy E. Warriner
16                                         Counsel for Defendant
                                           Lisa Vang
17

18                                                 ORDER

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            IT IS SO FOUND AND ORDERED this 15th day of January, 2015.
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22
                                            UNITED STATES DISTRICT JUDGE
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